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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

X

IN RE MONSTER WORLDWIDE, INC.,  : 07 Civ. 2237 (JSR)
SECURITIES LITIGATION

 

MEMORANDUM OF LAW IN SUPPORT OF THE GOVERNMENT’S
MOTION TO INTERVENE AND STAY CERTAIN DEPOSITIONS

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

IN RE MONSTER WORLDWIDE, INC.,_ : 07 Civ. 2237 (JSR)
SECURITIES LITIGATION

 

MEMORANDUM OF LAW IN SUPPORT OF THE GOVERNMENT’S
MOTION TO INTERVENE AND STAY CERTAIN DEPOSITIONS
PRELIMINARY STATEMENT

The United States of America, by and through the United States Attorney for the
Southern District of New York (“the Government’), respectfully submits this memorandum of
law in support of its application (i) to intervene in this case, pursuant to Rule 24(a) and (b) of the
Federal Rules of Civil Procedure, and (ii) for a 30-day stay of certain depositions with leave to
seek an additional stay as appropriate within those 30 days. All parties to this action have
consented to the Government’s motion to intervene. All defendants have consented to the
Government’s motion for a stay. Plaintiffs’ counsel has advised the Government that he intends
to oppose the Government motion for a stay.

BACKGROUND
A. Overview

This civil action relates to allegations that the defendants and others engaged in a
long-running scheme to improperly backdate and account for numerous stock option grants at
Monster Worldwide, Inc. (“Monster”). These same allegations form the basis of an ongoing,

publicly-reported criminal investigation by the Government. That investigation has led to the
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filing of a criminal Information against Myron Olesnyckyj, Monster’s former general counsel,
and the filing of a criminal Complaint against Andrew J. McKelvey, Monster’s former Chief
Executive Officer. Olesnyckyj and McKelvey are defendants in the current civil action, and each
of them has publicly admitted to participating in the backdating scheme in connection with the
criminal investigation. The underlying facts in the civil action and the criminal investigation are
substantially overlapping, inextricably intertwined, and meaningfully related.
B. The Criminal Investigation

On March 27, 2007, Olesnyckyj pled guilty before Judge Laura Taylor Swain
pursuant to a cooperation agreement with the Government to a two-count Information charging
him with conspiracy and securities fraud in connection with his role in backdating stock option
grants while serving as Monster’s general counsel. See United States v. Olesnyckyj, 07 Cr. 120
(LTS).

On January 23, 2008, the Government filed a two-count Complaint against
Andrew McKelvey, charging him with conspiracy and securities fraud in connection with his role
in Monster’s backdating scheme. See United States v. McKelvey, 08 Mag. 237. That same day,
due to McKelvey’s terminal medical condition, the Government agreed to, and Magistrate Judge’
Gabriel W. Gorenstein approved, a deferral of prosecution. As part of that agreement, McKelvey
accepted responsibility for his participation in the backdating scheme.

As reflected in the Olesnyckyj Information and the McKelvey Complaint, between
approximately 1996 and 2003, McKelvey, Olesnyckyj and others conspired to systematically
backdate stock option grants to Monster employees in an effort to fraudulently suppress

Monster’s compensation expenses, and falsely inflate its earnings. As a result, Monster’s public
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filings with the Securities and Exchange Commission (“SEC”) between 1997 and 2005
fraudulently understated the company’s compensation expenses, and inflated its earnings, by over
three hundred million doliars.

The Monster co-conspirators backdated the vast majority of Monster’s employee
stock option grants from 1997 to April 2003, including Monster’s broad-based annual options
grants to its employees in 1998, 1999 and 2001, and a number of “one-off” grants -- grants to
new employees, or to current employees for purposes of retention -- during the same period.

None of the backdated grants resulted in the company taking a compensation expense, even
though every one of them had an immediate compensatory component.

As aresult, Monster’s Form 10-K annual public filings with the SEC from 1997
to 2005, falsely understated the company’s compensation expense, and also falsely stated that the
company followed applicable accounting principles regarding options grants. For example,
Monster’s Form 10-K for 2001 reported that Monster’s net income was $69,020,000, but this
was, in fact, an overstatement of more than 1,900 percent. After Monster recorded the
appropriate compensation expense for the backdated option grants, the company’s net income for
this period dropped to $3,439,000. In all, the backdating scheme resulted in an understatement of
compensation expense in the amount of approximately $339 million, pre-tax, during the period
1997 through 2005.

C. The Current Civil Action

This action was commenced on March 15, 2007, with the filing of a civil

complaint against Monster, McKelvey, Olesnyckyj, and Charles Lanny Baker. An amended class

action complaint was filed on July 9, 2007, against Monster, McKelvey, and Olesnyckyj. Based
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on the publicly filed documents, the Government understands this civil class action to involve
substantially similar matters as the pending criminal investigation, namely allegations that the
defendants engaged in a long-running scheme to improperly backdate and account for numerous
stock option grants.

The Government has been advised that the parties to the civil action are engaged
in ongoing discovery and that, to that end, plaintiffs’ counsel has noticed several depositions. Of
the eleven depositions that the Government has been advised of, six are of particular concern to
the Government. These include depositions of Erin Barriere, Andrew Burchill, Margaretta
Noonan, Myron Olesnyckyj, Michael Piotrowski, and Steve Pogorzelski. The Government does
not currently have an objection to any of the other scheduled depositions.

During the relevant time period, Olesnyckyj was Monster’s general counsel and
played a central role in the scheme to backdate options, as he acknowledged in pleading guilty to
federal crimes. Olesnyckyj is a cooperating witness who will likely testify in any future criminal
proceedings. Barriere was a manager of Human Resources at Monster and reported to the
Director of Human Resources. She was aware of Monster’s practice of backdating stock options,
prepared paperwork related to options grants, and came forward when news of the backdating
scandal first surfaced. Burchill served as Monster’s Assistant General Counsel, reported to
Olesnyckyj, and was aware of practices related to the backdating of options. He also came
forward after the initial reports of the backdating scheme. Noonan was Monster’s Director of
Human Resources and Piotrowski was Monster’s Stock Option Administrator. During the
relevant time period, they administered the stock option program and regularly communicated

with individuals involved in the backdating scheme. Finally, Pogorzelski was a senior executive
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at Monster who served as President of Monster (North America) and as Group President,
International during the relevant period. He has relevant information about the backdating
scheme. The Government expects that each of these individuals will be a witness in any future
criminal prosecutions arising from the backdating scheme. Accordingly, the Government has
grave concerns about permitting the litigants to depose these witnesses in the civil action.
ARGUMENT
POINT I

INTERVENTION IS APPROPRIATE
UNDER FEDERAL RULE OF CIVIL PROCEDURE 24

Under Rule 24(a)(2) of the Federal Rules of Civil Procedure, anyone may

Intervene as of right in an action when the applicant “claims an interest relating to the property or
transaction which is the subject of the action” and the applicant is so situated that “disposition of
the action may as a practical matter impair or impede the applicant’s ability to protect that
interest.” Alternatively, intervention may be permitted by the Court under Rule 24(b)(2) of the
Federal Rules of Civil Procedure “when the applicant’s claim or defense and the main action ~
have a question of law or fact in common.” The Government submits that intervention is
appropriate in this action under both of these provisions.

The Government has a direct and substantial interest in the subject matter of this
litigation, which substantially parallels the facts that the Government is investigating.
Specifically, the Government has a “discernible interest in intervening in order to prevent
discovery in a civil case from being used to circumvent the more limited scope of discovery in

the criminal matter.” SEC v. Chestman, 861 F.2d 49, 50 (2d Cir. 1988).
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The Government’s interest in upholding the public interest in enforcement of the
criminal laws cannot be protected adequately by the existing parties in this civil litigation. The
private parties cannot represent the Government’s interests with respect to the investigation and
enforcement of federal criminal statutes. See Bureerong v. Uvawas, 167 F.R.D. 83, 86 (C.D.Cal.
1996) (“the Government’s prosecutorial and investigative interest is not adequately protected by
any of the civil parties .... Clearly neither the plaintiff nor the defendants have this identical
interest.”).

As a general rule, courts “have allowed the government to intervene in civil
actions -- especially when the government wishes to do so for the limited purpose of moving to
stay discovery.” Twenty First Century Corp. v. LaBianca, 801 F. Supp. 1007 (E.D.N.Y. 1992).
See SEC vy. Downe, 1993 WL 22126 at 10 (S.D.N.Y. Jan. 26, 1993); Kaiser v. Stewart, 1997 WL
66186 (E.D. Pa. Feb. 6, 1997) (granting intervention), Thornhill vy. Otto Candies, Inc., 1994 WL
382655 (E.D. La. July 19, 1994) (granting intervention under Rule 24); see also United States v.
Mellon Bank, 545 F.2d 869 (3d Cir. 1976) (“It is well established that the United States Attorney
may intervene in a federal civil action to seek a stay of discovery when there is a parallel criminal
proceeding, which is . . . already underway that involves common questions of law or fact.”’).

Because civil discovery may, as a practical matter, impair or impede the
Government’s ability to protect its interests in the enforcement of federal criminal law, the
Government respectfully submits that its application to intervene should be granted.

As noted, all parties to this action consent to the Government’s motion to

intervene.
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POINT I
THE PROPOSED STAY OF CERTAIN LIMITED DISCOVERY IS APPROPRIATE

The interests of justice generally weigh in favor of a stay of parallel civil
proceedings, due to the variety of ways in which the civil proceeding may impede a criminal
proceeding. SEC v. Dresser Industries, Inc., 628 F.2d 1368, 1375 (D.C. Cir. 1980); United
States v. One 1964 Cadillac Coupe DeVille, 41 F.R.D. 352, 353 (S.D.N.Y. 1966) (“where both
civil and criminal proceedings arise out of the same or related transactions the government is
ordinarily entitled to a stay of all discovery in the civil case until disposition of the criminal
matter’’).

The reasons for the policy against civil discovery while criminal proceedings are
ongoing stem directly from the differences between civil and criminal proceedings. As the Fifth
Circuit explained in Campbell v. Eastland, 307 F.2d 478 (Sth Cir. 1962):

The very fact that there is a clear distinction between civil and

criminal actions requires a government policy determination of

priority: which case should be tried first. Administrative policy

gives priority to the public interest in law enforcement. This seems

so necessary and wise that a trial judge should give substantial

weight to it in balancing the policy against the right of a civil

litigant to a reasonably prompt determination of his civil claims or

liabilities.

Id. at 487. Indeed, the courts have repeatedly recognized the priority that should be given to the
“public interest in law enforcement.” United States v. Hugo Key & Son, Inc., 672 F. Supp. 656,
685 (D.R.I. 1987); see also Driver v. Helms, 402 F. Supp. 683, 685 (D.R.I. 1975); In re Ivan F.

Boesky Securities Litig., 128 F.R.D. 47, 49 (S.D.N.Y. 1989) (“the public interest in the criminal

case is entitled to precedence over the civil litigant”).
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Furthermore, courts have recognized that a civil litigant should not be allowed to
use civil discovery to avoid the restrictions that would otherwise pertain in criminal discovery to
a criminal defendant. SEC v. Beacon Hill Asset Management LLC, 2003 WL 554618, at *1
(S.D.N.Y. Feb. 27, 2003) (in context of request for civil stay of discovery due to pending
criminal investigation, “the principal concern with respect to prejudicing the government’s
criminal investigation is that its targets might abuse civil discovery to circumvent limitations on
discovery in criminal cases”) (Kaplan, J.); see, e.g., SEC v. Downe, 1993 WL 22126 at *12-13;
Governors of the Fed’l Reserve System y. Pharaon, 140 F.R.D. 634, 639 (S.D.N.Y. 1991) (“A
litigant should not be allowed to make use of the liberal discovery procedures applicable to a
civil suit as a dodge to avoid the restrictions on criminal discovery’’) (citations omitted).

Rule 16 of the Federal Rules of Criminal Procedure expressly states that it does
not “authorize the discovery . . . of statements made by government witnesses or prospective
government witnesses except as provided in 18 U.S.C. § 3500.” Fed. R. Crim. P. 16(a)(2). Title
18, United States Code, Section 3500 provides that in criminal cases, the statements of
Government witnesses shall not be “the subject of subpoena, discovery, or inspection until said
witness has testified on direct examination in the trial of the case.”

The public policy against premature disclosure of the Government’s criminal case
is so strong that courts are without power to order early production of witness statements. See
United States v. Taylor, 802 F.2d 1108, 1117-18 (9th Cir. 1986). Moreover, except under
“exceptional circumstances” and pursuant to court order, the criminal rules do not provide either
for depositions as a means of discovery or for any discovery of third parties. See In re Ahead By

A Length, Inc., 78 B.R. 708, 711 (S.D.N.Y. 1987); Fed. R. Crim. P. 15 & 16.
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Traditionally, the narrow scope of federal criminal discovery, unlike the broad
scope of civil discovery, has been justified by three considerations of particular concern in a
criminal proceeding: (1) the fear that broad disclosure of the essentials of the prosecution’s case
will result in perjury and manufactured evidence; (2) the fear that revelation of the identity of
prospective Government witnesses will create the opportunity for intimidation of those
witnesses, thereby discouraging the giving of information to the Government; and (3) the fear
that criminal defendants will unfairly surprise the prosecution at trial with information gained
through discovery, while the self-incrimination privilege would effectively block any attempts by
the Government to discover relevant evidence from the defendants. Campbell v. Eastland, 307
F.2d at 487 n.12.

In recognition of these distinctions and interests, courts have stayed civil
discovery and adjourned civil trials where a criminal proceeding is pending, both in order to
prevent the civil discovery rules from being subverted into a device for improperly obtaining
discovery in the criminal proceedings and to assure that the Government’s ability to prosecute the
criminal case is not undermined. This is particularly so where, as here, the pending criminal
investigation involves many of the same issues, evidence, and witnesses as the civil proceeding.

Further, considerations of judicial economy and the public interest in efficient use
of judicial resources also militate in favor of granting a stay. Issues common to both cases can be
resolved in the criminal proceeding, thereby simplifying the civil action. This, in turn, may pare
down the number of issues to be determined in the civil case. See United States v. Mellon Bank,
N.A., 545 F.2d 869, 873 (3d Cir. 1976) (“resolution of the criminal case may moot, clarify, or

otherwise affect various contentions in the civil case”); Twenty First Century Corp. v. LaBianca,
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801 F. Supp. 1007 (recognizing judicial economy as a factor to be considered); Brock v. Tolkow,
109 F.R.D. 116, 120 (E.D.N.Y. 1985) (noting that resolution of criminal case “might reduce
scope of discovery in the civil case and otherwise simplify the issues”).

There is an unnamed party in every lawsuit -- the public. Public

resources are squandered if judicial proceedings are allowed to

proliferate beyond reasonable bounds. The public’s right to a ‘just,

speedy, inexpensive determination of every action’. . . is infringed,

if a court allows a case . . . to preempt more than its reasonable

share of the Court’s time.

United States v. Reaves, 636 F. Supp. 1575, 1578 (E.D. Ky. 1986) (citations omitted).

Here, the Government seeks a limited stay of discovery to avoid the potential
irreparable harm that it would suffer if all depositions were to proceed in this matter. The
Government has not — and does not intend to — seek a stay of all discovery. Nor does the
Government seek to stay all depositions. Rather, the Government seeks merely to stay the
depositions of certain specific individuals who are likely to be witnesses in future criminal
prosecutions. This includes Olesnyckyj, a cooperating witness who has pled guilty to federal
crimes arising from his role in the backdating scheme, various high-ranking former Monster
employees, and individuals who were intricately involved in the options granting process.
Allowing these depositions to go forward would permit potential criminal defendants to obtain
civil discovery prior to the conclusion of the criminal proceeding and to obtain additional witness
statements. This would result in the transcription and disclosure of additional statements by
potential witnesses in any future criminal cases, which statements could be used against these

witnesses if they were testify. Furthermore, premature disclosure of witnesses’ testimony may

provide future potential defendants with the means to perjure themselves or manufacture

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evidence or tailor defenses to fit the Government’s proof. The Government also is concerned
that if these witnesses are deposed, they may be shown documents or otherwise receive
information that could taint their testimony down the road. The public interest in enforcement of
the criminal laws outweighs the civil parties’ interest in proceeding with the at-issue depositions.
Finally, in seeking this stay, the Government is mindful that the Court will frown
upon an open-ended stay with no defined limit. To that end, at this time, the Government is
seeking only a 30-day stay of these particular depositions, a relatively modest period during
which other depositions and discovery can be completed. The Government further asks for leave
to seek an additional stay within that 30 day period, at which time the Government can advise the
Court and the parties of the status of its investigation, as appropriate, and attempt to provide the
Court with more guidance as to the timing of any additional criminal prosecutions. It is the

Government’s intention to provide the Court with a more definitive timeline at that point.’

 

' For obvious reasons, the Government cannot disclose further details concerning the status of
its investigation. If, however, the Court requires additional information, the Government is
prepared to provide the Court with an ex parte submission.

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CONCLUSION
For the foregoing reasons, the Government respectfully requests that this Court

grant its application to intervene and to stay discovery pending completion of the criminal case.

Dated: April 22, 2008
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